Case 2:10-cv-00259-TOR ECFNo.6 filed 10/07/10 PagelD.15 Page 1 of 2

ORIGINAL
AO 440 (Rev. 12/09) Summons in a Civil acihr -FILE WITH CLERK'S OF FICE

UNITED STATES DISTRICT COURT

for the

Eastern District of Washington

MELANIE FRENCH,

 

Plaintiff
v. Civil Action No. CV-10-259-EFS

LINCOLN HOSPITAL DISTRICT NO. 3,

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

LINCOLN HOSPITAL DISTRICT NO, 3
10 Nichols St.
Davenport WA 99122

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: William Edelblute Attorney for Plaintiff, 300 N Argonne Ste 203, Spokane Valley

WA 99212-2839.

If you fail to respond, judgment by default will be entered against you for the relief demanded in the compliant.
You also must file your answer or motion with the court.
CLERK OF COURT

‘)
AUG 18 2010 [p- 1

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Date: Yee"
' Signature of Clerk or Deputy Clerk

 
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2) _
Civil Action No.
PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, f any) Wiecole *leso sel » esc soos .N 0 ss
was received by me on (date) _S\ya\pe NO..."

(1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

CO Lleft the summons at the indiyidual’s residence or usual place of abode with (name)
, aperson of suitable age and discretion who resides there,

 

 

on (date) es and mailed a copy to the individual's last known address; or

v4 served the summons on (name of individual) Yo M Ma ct \ Ad M\ niche ato ry , who is
designated by law to accept service of process on behalf of (name of organization) Wace rc We 9 4 \

Dastvuct Nod 10 Nichols Sh, Davengurt., wi on (date) B\\q\a0io, 12'38pe%.0F

(1 [returned the summons unexccuted because

 

 

 

5 OF

O Other (specifiy):

 

 

 

 

 

My fees are $ Hh OC) _ fortravel and $ 39. OO _ for services, for a total of $ Bs 0 OO:

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jg
Server's signature

Don Red, Sergeant...

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by wee
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Ho Sincleiv St-

90 AY A6T
Devernpo cr, oF QrAvaa

 

T declare under penalty of perjury that this information is true.

  

Date: Sl AO\A2©10

 

Additional information regarding attempted service, etc:
